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                         EXHIBIT E
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                     PAYCHECK PROTECTION PROGRAM
                   AND HEALTH CARE ENHANCEMENT ACT

                       Pl 116-139, April 24, 2020, 134 Stat 620

              Division B—Additional Emergency Appropriations
                         For Coronavirus Response

                                        Title I

                  Department Of Health And Human Services

                               Office of the Secretary
                 Public Health And Social Services Emergency Fund
                            (including transfer of funds)

For an additional amount for “Public Health and Social Services Emergency Fund”,
$75,000,000,000, to remain available until expended, to prevent, prepare for, and re-
spond to coronavirus, domestically or internationally, for necessary expenses to reim-
burse, through grants or other mechanisms, eligible health care providers for health
care related expenses or lost revenues that are attributable to coronavirus:

Provided, That these funds may not be used to reimburse expenses or losses that have
been reimbursed from other sources or that other sources are obligated to reimburse:

Provided further, That recipients of payments under this paragraph in this Act shall
submit reports and maintain documentation as the Secretary of Health and Human
Services (referred to in this paragraph as the “Secretary”) determines are needed to
ensure compliance with conditions that are imposed by this paragraph in this Act for
such payments, and such reports and documentation shall be in such form, with such
content, and in such time as the Secretary may prescribe for such purpose:

Provided further, That “eligible health care providers” means public entities, Medi-
care or Medicaid enrolled suppliers and providers, and such for-profit entities and
not-for-profit entities not otherwise described in this proviso as the Secretary may
specify, within the United States (including territories), that provide diagnoses, test-
ing, or care for individuals with possible or actual cases of COVID–19:

Provided further, That the Secretary shall, on a rolling basis, review applications and
make payments under this paragraph in this Act:

Provided further, That funds appropriated under this paragraph in this Act shall be
available for building or construction of temporary structures, leasing of properties,
medical supplies and equipment including personal protective equipment and testing
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supplies, increased workforce and trainings, emergency operation centers, retrofit-
ting facilities, and surge capacity:

Provided further, That, in this paragraph, the term “payment” means a pre-payment,
prospective payment, or retrospective payment, as determined appropriate by the
Secretary:

Provided further, That payments under this paragraph in this Act shall be made in
consideration of the most efficient payment systems practicable to provide emergency
payment:

Provided further, That to be eligible for a payment under this paragraph in this Act,
an eligible health care provider shall submit to the Secretary an application that in-
cludes a statement justifying the need of the provider for the payment and the eligible
health care provider shall have a valid tax identification number:

Provided further, That, not later than 3 years after final payments are made under
this paragraph in this Act, the Office of Inspector General of the Department of
Health and Human Services shall transmit a final report on audit findings with re-
spect to this program to the Committees on Appropriations of the House of Repre-
sentatives and the Senate:

Provided further, That nothing in this paragraph limits the authority of the Inspector
General or the Comptroller General to conduct audits of interim payments at an ear-
lier date:

Provided further, That not later than 60 days after the date of enactment of this Act,
the Secretary shall provide a report to the Committees on Appropriations of the
House of Representatives and the Senate on obligation of funds, including obligations
to such eligible health care providers summarized by State of the payment receipt:

Provided further, That such reports shall be updated and submitted to such Commit-
tees every 60 days until funds are expended:

Provided further, That such amount is designated by the Congress as being for an
emergency requirement pursuant to section 251(b)(2)(A)(i) of the Balanced Budget
and Emergency Deficit Control Act of 1985.

For an additional amount for “Public Health and Social Services Emergency Fund”,
$25,000,000,000, to remain available until expended, to prevent, prepare for, and re-
spond to coronavirus, domestically or internationally, for necessary expenses to re-
search, develop, validate, manufacture, purchase, administer, and expand capacity
for COVID–19 tests to effectively monitor and suppress COVID–19, including tests
for both active infection and prior exposure, including molecular, antigen, and
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serological tests, the manufacturing, procurement and distribution of tests, testing
equipment and testing supplies, including personal protective equipment needed for
administering tests, the development and validation of rapid, molecular point-of-care
tests, and other tests, support for workforce, epidemiology, to scale up academic, com-
mercial, public health, and hospital laboratories, to conduct surveillance and contact
tracing, support development of COVID–19 testing plans, and other related activities
related to COVID–19 testing:

Provided, That of the amount appropriated under this paragraph in this Act, not less
than $11,000,000,000 shall be for States, localities, territories, tribes, tribal organi-
zations, urban Indian health organizations, or health service providers to tribes for
necessary expenses to develop, purchase, administer, process, and analyze COVID–
19 tests, including support for workforce, epidemiology, use by employers or in other
settings, scale up of testing by public health, academic, commercial, and hospital la-
boratories, and community-based testing sites, health care facilities, and other enti-
ties engaged in COVID–19 testing, conduct surveillance, trace contacts, and other
related activities related to COVID–19 testing:

Provided further, That of the amount identified in the preceding proviso, not less than
$2,000,000,000 shall be allocated to States, localities, and territories according to the
formula that applied to the Public Health Emergency Preparedness cooperative
agreement in fiscal year 2019, not less than $4,250,000,000 shall be allocated to
States, localities, and territories according to a formula methodology that is based on
relative number of cases of COVID–19, and not less than $750,000,000 shall be allo-
cated in coordination with the Director of the Indian Health Service, to tribes, tribal
organizations, urban Indian health organizations, or health service providers to
tribes:

Provided further, That the Secretary of Health and Human Services (referred to in
this paragraph as the “Secretary”) may satisfy the funding thresholds outlined in the
first and second provisos under this paragraph in this Act by making awards through
other grant or cooperative agreement mechanisms:

Provided further, That not later than 30 days after the date of enactment of this Act,
the Governor or designee of each State, locality, territory, tribe, or tribal organization
receiving funds pursuant to this Act shall submit to the Secretary its plan for COVID–
19 testing, including goals for the remainder of calendar year 2020, to include: (1) the
number of tests needed, month-by-month, to include diagnostic, serological, and other
tests, as appropriate; (2) month-by-month estimates of laboratory and testing capac-
ity, including related to workforce, equipment and supplies, and available tests; and
(3) a description of how the State, locality, territory, tribe, or tribal organization will
use its resources for testing, including as it relates to easing any COVID–19 commu-
nity mitigation policies:
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Provided further, That the Secretary shall submit such formula methodology identi-
fied in the first proviso under this paragraph in this Act to the Committees on Appro-
priations of the House of Representatives and the Senate one day prior to awarding
such funds:

Provided further, That such funds identified in the first and second provisos under
this paragraph in this Act shall be allocated within 30 days of the date of enactment
of this Act:

Provided further, That of the amount appropriated under this paragraph in this Act,
not less than $1,000,000,000 shall be transferred to the “Centers for Disease Control
and Prevention—CDC-Wide Activities and Program Support” for surveillance, epide-
miology, laboratory capacity expansion, contact tracing, public health data surveil-
lance and analytics infrastructure modernization, disseminating information about
testing, and workforce support necessary to expand and improve COVID–19 testing:

Provided further, That of the amount appropriated under this paragraph in this Act,
not less than $306,000,000 shall be transferred to the “National Institutes of
Health—National Cancer Institute” to develop, validate, improve, and implement se-
rological testing and associated technologies for the purposes specified under this
paragraph in this Act:

Provided further, That of the amount appropriated under this paragraph in this Act,
not less than $500,000,000 shall be transferred to the “National Institutes of
Health—National Institute of Biomedical Imaging and Bioengineering” to accelerate
research, development, and implementation of point of care and other rapid testing
related to coronavirus:

Provided further, That of the amount appropriated under this paragraph in this Act,
not less than $1,000,000,000 shall be transferred to the “National Institutes of
Health—Office of the Director” to develop, validate, improve, and implement testing
and associated technologies; to accelerate research, development, and implementa-
tion of point of care and other rapid testing; and for partnerships with governmental
and non-governmental entities to research, develop, and implement the activities out-
lined in this proviso:

 Provided further, That funds in the preceding proviso may be transferred to the ac-
counts of the Institutes and Centers of the National Institutes of Health (referred to
in this paragraph as the “NIH”) for the purposes specified in the preceding proviso:

Provided further, That the transfer authority provided in the preceding proviso is in
addition to all other transfer authority available to the NIH:
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Provided further, That of the amount appropriated under this paragraph in this Act,
not less than $1,000,000,000 shall be available to the Biomedical Advanced Research
and Development Authority for necessary expenses of advanced research, develop-
ment, manufacturing, production, and purchase of diagnostic, serologic, or other
COVID–19 tests or related supplies, and other activities related to COVID–19 testing
at the discretion of the Secretary:

Provided further, That of the amount appropriated under this paragraph in this Act,
$22,000,000, shall be transferred to the “Department of Health and Human Ser-
vices—Food and Drug Administration—Salaries and Expenses” to support activities
associated with diagnostic, serological, antigen, and other tests, and related admin-
istrative activities:

Provided further, That the amount appropriated under this paragraph in this Act
may be used for grants for the rent, lease, purchase, acquisition, construction, alter-
ation, renovation, or equipping of non-federally owned facilities to improve prepared-
ness and response capability at the State and local level for diagnostic, serologic, or
other COVID–19 tests, or related supplies:

Provided further, That the amount appropriated under this paragraph in this Act
may be used for construction, alteration, renovation, or equipping of non-federally
owned facilities for the production of diagnostic, serologic, or other COVID–19 tests,
or related supplies, where the Secretary determines that such a contract is necessary
to secure, or for the production of, sufficient amounts of such tests or related supplies:

Provided further, That funds appropriated under this paragraph in this Act may be
used for purchase of medical supplies and equipment, including personal protective
equipment and testing supplies to be used for administering tests, increased work-
force and trainings, emergency operation centers, and surge capacity for diagnostic,
serologic, or other COVID–19 tests, or related supplies:

Provided further, That products purchased with funds appropriated under this para-
graph in this Act may, at the discretion of the Secretary, be deposited in the Strategic
National Stockpile under section 319F–2 of the Public Health Service Act:

Provided further, That of the amount appropriated under this paragraph in this Act,
$600,000,000 shall be transferred to “Health Resources and Services Administra-
tion—Primary Health Care” for grants under the Health Centers program, as defined
by section 330 of the Public Health Service Act, and for grants to federally qualified
health centers, as defined in section 1861(aa)(4)(B) of the Social Security Act:

Provided further, That sections 330(e)(6)(A)(iii), 330(e)(6)(B)(iii), and 330(r)(2)(B) of
the Public Health Service Act shall not apply to funds provided under the previous
proviso:
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Provided further, That of the amount appropriated under this paragraph in this Act,
$225,000,000 shall be used to provide additional funding for COVID–19 testing and
related expenses, through grants or other mechanisms, to rural health clinics as de-
fined in section 1861(aa)(2) of the Social Security Act, with such funds also available
to such entities for building or construction of temporary structures, leasing of prop-
erties, and retrofitting facilities as necessary to support COVID–19 testing:

Provided further, That such funds shall be distributed using the procedures developed
for the Provider Relief Fund authorized under the third paragraph under this head-
ing in division B of the Coronavirus Aid, Relief, and Economic Security Act (Public
Law 116–136); may be distributed using contracts or agreements established for such
program; and shall be subject to the process requirements applicable to such program:

Provided further, That the Secretary may specify a minimum amount for each eligible
entity accepting assistance under the two previous provisos:

Provided further, That up to $1,000,000,000 of funds provided under this paragraph
in this Act may be used to cover the cost of testing for the uninsured, using the defi-
nitions applicable to funds provided under this heading in Public Law 116–127:

Provided further, That not later than 21 days after the date of enactment of this Act,
the Secretary, in coordination with other appropriate departments and agencies,
shall issue a report on COVID–19 testing:

Provided further, That such report shall include data on demographic characteristics,
including, in a de-identified and disaggregated manner, race, ethnicity, age, sex, ge-
ographic region and other relevant factors of individuals tested for or diagnosed with
COVID–19, to the extent such information is available:

Provided further, That such report shall include information on the number and rates
of cases, hospitalizations, and deaths as a result of COVID–19:

Provided further, That such report shall be submitted to the Committees on Appro-
priations of the House and Senate, and the Committee on Energy and Commerce of
the House of Representatives and the Committee on Health, Education, Labor, and
Pensions of the Senate, and updated and resubmitted to such Committees, as neces-
sary, every 30 days until the end of the COVID–19 public health emergency first de-
clared by the Secretary on January 31, 2020:

Provided further, That not later than 180 days after the date of enactment of this Act,
the Secretary shall issue a report on the number of positive diagnoses, hospitaliza-
tions, and deaths as a result of COVID–19, disaggregated nationally by race, ethnic-
ity, age, sex, geographic region, and other relevant factors:
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Provided further, That such report shall include epidemiological analysis of such
data:

Provided further, That not later than 30 days after the date of the enactment of this
Act, the Secretary, in coordination with other departments and agencies, as appro-
priate, shall report to the Committees on Appropriations of the House and Senate,
the Committee on Energy and Commerce of the House of Representatives, and the
Committee on Health, Education, Labor, and Pensions of the Senate on a COVID–19
strategic testing plan:

Provided further, That such plan shall assist States, localities, territories, tribes,
tribal organizations, and urban Indian health organizations, in understanding
COVID–19 testing for both active infection and prior exposure, including hospital-
based testing, high-complexity laboratory testing, point-of-care testing, mobile-test-
ing units, testing for employers and other settings, and other tests as necessary:

Provided further, That such plan shall include estimates of testing production that
account for new and emerging technologies, as well as guidelines for testing:

Provided further, That such plan shall address how the Secretary will increase do-
mestic testing capacity, including testing supplies; and address disparities in all com-
munities:

Provided further, That such plan shall outline Federal resources that are available to
support the testing plans of each State, locality, territory, tribe, tribal organization,
and urban Indian health organization:

Provided further, That such plan shall be updated every 90 days until funds are ex-
pended:

Provided further, That such amount is designated by the Congress as being for an
emergency requirement pursuant to section 251(b)(2)(A)(i) of the Balanced Budget
and Emergency Deficit Control Act of 1985.
